                Case 3:21-cr-00402-RS Document 128 Filed 08/09/22 Page 1 of 3




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 DAVID J. WARD (CABN 239504)
   ZACHARY G.F. ABRAHAMSON (CABN 310951)
 5 Assistant United States Attorneys

 6           450 Golden Gate Avenue, Box 36055
             San Francisco, California 94102-3495
 7           Telephone: (415) 436-7261
             FAX: (415) 436-7234
 8           zachary.abrahamson2@usdoj.gov

 9 Attorneys for United States of America

10                                     UNITED STATES DISTRICT COURT

11                                  NORTHERN DISTRICT OF CALIFORNIA

12                                          SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                          )   CASE NO. 3:21-cr-00402 RS
14                                                      )
             Plaintiff,                                 )   FIRST JOINT STIPULATION RE BUSINESS
15                                                      )   RECORDS
        v.                                              )
16                                                      )   Judge:          Hon. Richard Seeborg
     VICTOR MAKRAS,                                     )   Pretrial Conf.: July 27, 2022
17                                                      )   Time:           10:00 a.m.
             Defendant.                                 )   Trial Date:     August 15, 2022
18                                                      )

19
             IT IS HEREBY STIPULATED AND AGREED, between plaintiff, the United States of
20
     America, by its undersigned counsel, and defendant, Victor Makras, by his undersigned counsel, that
21
     without waiving the right of any party to object on the basis of Rule 401 or Rule 403 of the Federal
22
     Rules of Evidence, the following documents produced in this matter are authentic pursuant to Federal
23
     Rule of Evidence 901(a), 902(11) and/or 902(13), covered by the business records exception to the rule
24
     against hearsay contained in Federal Rule of Evidence 803(6), and admissible at trial in lieu of the
25
     original documents and may be admitted at trial without calling a custodian as a witness:
26
      Exhibit    Description                                                                  Custodian
27    Nos.
      TBD        Business records and custodian declaration of San Francisco Federal Credit   San Francisco
28               Union pertaining to accounts held by Harlan and Naomi Kelly [ US-            Federal Credit Union
                 SFFCU-00000271, US-SFFCU-00000273 through -414, US-SFFCU-
     STIPULATIONS RE RECORDS                                1
     3:21-cr-00402-RS
               Case 3:21-cr-00402-RS Document 128 Filed 08/09/22 Page 2 of 3




 1   Exhibit    Description                                                                  Custodian
     Nos.
 2              00001010 through -1026, US-SFFCU-00001028 through -1036, US-
                SFFCU-00001267 through -1469, US-SFFCU-00001796 through -1821 ]
 3   TBD        Business records and custodian declaration of San Francisco Federal Credit   San Francisco
                Union pertaining to a loan sought by Harlan and Naomi Kelly [ US-            Federal Credit Union
 4              SFCREDITU-00000544, US-SFCREDITU-00000386 through -543 ]
     TBD        Business records and custodian declarations of JPMorgan Chase pertaining     JPMorgan Chase
 5              to accounts held by Harlan and Naomi Kelly [ US-CHASE-00001113
                through -1115, US-CHASE-00001117 through -1119 ]
 6   TBD        Business records and custodian declarations of JPMorgan Chase pertaining     JPMorgan Chase
                to accounts held by Harlan and Naomi Kelly [US-CHASE-00002742, US-
 7              CHASE-00001120 through -2725 ]
     TBD        Business records and custodian declarations of JPMorgan Chase pertaining     JPMorgan Chase
 8              to accounts held by Harlan and Naomi Kelly [ US-CHASE-00002961, US-
                CHASE-2963 through -3017 ]
 9   TBD        Business records and custodian declaration of Bank of America pertaining     Bank of America
                to accounts held by Harlan Kelly [ US-BOA-00000797, US-BOA-
10              00000800 through -1626, US-BOA-00001761 through -1798, US-BOA-
                00001901 through -2306 ]
11   TBD        Business records of and custodian declaration of Quicken Loans/Rocket        Quicken
                Mortgage pertaining to a loan sought by Harlan and Naomi Kelly [ US-         Loans/Rocket
12              QUICKEN-00000004, US-QUICKEN-00000001 through -1139, US-                     Mortgage
                QUICKEN-00001142 through -1156, QUICKEN-00001137 through -1278
13              ]
     TBD        Business records of and custodian declaration of Quicken Loans/Rocket        Quicken
14              Mortgage pertaining to a loan sought by Harlan and Naomi Kelly [ Rocket      Loans/Rocket
                Mortgage 000001 through -982 ]                                               Mortgage
15   TBD        Business records and custodian declaration of Old Republic Title Co.         Old Republic Title
                pertaining to escrow records for various properties [ US-ORTC-00000001       Co.
16              through -1330, ORT0001 through -368 ]
     TBD        Business records of Makras Real Estate pertaining to loans sought and        Makras Real Estate
17              properties held by Harlan and Naomi Kelly [ MAKRAS-GJSDT-00000002
                through -0462 ]
18   TBD        Business records of Wong Construction [ WONGCONSTR-                          Wong Construction
                NDCALMAR2020-000964 through -968 ]
19   TBD        Business records of California Real Estate Loans, Inc. (“CREL”), in the      Various
                form of e-mails to or from CREL regarding the property at 1622 11th Ave.
20   TBD        Business records of Makras Real Estate in the form of e-mails to or from     Various
                Makras Real Estate regarding the property at 1622 11th Ave.
21

22
           IT IS SO STIPULATED AND AGREED.
23
                                                                   Respectfully submitted,
24
                                                                   STEPHANIE M. HINDS
25                                                                 United States Attorney
26
     DATED: August 9, 2022                                                /s/
27                                                                 DAVID J. WARD
                                                                   ZACHARY G.F. ABRAHAMSON
28                                                                 Assistant United States Attorneys
     STIPULATIONS RE RECORDS                               2
     3:21-cr-00402-RS
             Case 3:21-cr-00402-RS Document 128 Filed 08/09/22 Page 3 of 3




 1
                                                    KEKR, VAN NEST & PETERS LLP
 2
     DATED: August 9, 2022                                 /s/
 3                                                  JOHN W. KEKER
                                                    JAN NIELSEN LITTLE
 4
                                                    CODY GRAY
 5                                                  Attorneys for Defendant VICTOR
                                                    MAKRAS
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

     STIPULATIONS RE RECORDS                  3
     3:21-cr-00402-RS
